
Swing, J.
These causes should be reversed. The only issue joined, and the only proper issue to be joined, was between the plaintiffs and Bowles, the administrator. The Building Association had no right to contest the matter. It stood willing to pay to the proper owners the amounts due. The administrator and the other parties claimed to be the rightful owners. The issue was between them, and the administrator was not only a proper party, but the real party in interest, and the judgment should have been either for or against either of these parties ; but the court found that the administrator was not a proper party, and dismissed his answer and cross-petition. When *179this was done it left no issue to try between the plaintiffs and the Building Association. The plaintiffs’ petition then stood without a denial as to their allegations, and judgment should have been rendered in their favor. But the court found for the Building Association on the issues joined between it and the plaintiffs, when in fact there were no issues joined. This was error, in our judgment, and the judgments should be reversed, and the causes remanded for further proceedings.
George B. Goodhart and Matthews &amp; Cleveland, for the plaintiffs in error.
P. W. Francis and Hollister &amp; Hollister, for the administrator.
